        Case 5:21-cv-01022-G       Document 185      Filed 07/15/24    Page 1 of 2




 NOTICE OF APPEAL TO A COURT OF APPEALS FROM A JUDGMENT OR
                      ORDER OF A DISTRICT COURT
        United States District Court for the Western District of Oklahoma
                           File Number Civ-21-1022-G


[1] BLACK EMERGENCY RESPONSE TEAM, et al. )
                                               )
                  Plaintiffs,                  )
v.                                             )
                                               )               Notice of Appeal
[1] GENTNER DRUMMOND, in his official capacity )
as Oklahoma Attorney General, et al.           )
                                               )
                  Defendants.                  )

        Notice is hereby given that John R. Braught, Robert Ross, Kenneth S. Waits, Natalie

Shirley, Anita Holloway, Eric Stevenson and Rick Nagel, in their official capacities as

members of the Board of Regents of the University of Oklahoma, defendants in the above

named case, hereby appeal to the United States Court of Appeals for the 10th Circuit from

an Order of Preliminary Injunction, entered in this action on the Fourteenth day of June,

2024.

                                          (s) Tina S. Ikpa
                                          M. Daniel Weitman, OBA #17412
                                          Tina S. Ikpa, OBA #32193
                                          University of Oklahoma
                                          Office of Legal Counsel
                                          (405) 325-4124
                                          dan.weitman@ou.edu
                                          tsikpa@ou.edu
                                          Attorney for Defendants, Members of the Board
                                          of Regents of the University of Oklahoma
                                          660 Parrington Oval, Suite 213
                                          Norman, Oklahoma 73019
Case 5:21-cv-01022-G   Document 185   Filed 07/15/24   Page 2 of 2
